        Case 1:23-vv-01719-UNJ              Document 33          Filed 04/01/25        Page 1 of 5

                                         &RUUHFWHG



In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 23-1719V


 DAVID MOLTER,                                               Chief Special Master Corcoran

                         Petitioner,
 v.                                                          Filed: February 28, 2025

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
     Petitioner.

Emilie Williams, U.S. Department of Justice, Washington, DC, for Respondent.

                                       DECISION ON DAMAGES1

       On October 3, 2023, David Molter filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as the result of an influenza (“flu”) vaccine received on January
12, 2022. Petition (ECF No. 1). The case was assigned to the Special Processing Unit of
the Office of Special Masters.

      On October 7, 2024, a Ruling on Entitlement was issued, finding Petitioner entitled
to compensation for a SIRVA. On February 27, 2025, Respondent filed a Proffer on award
of compensation (“Proffer”). Respondent represented that Petitioner agrees with the



1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
        Case 1:23-vv-01719-UNJ             Document 33         Filed 04/01/25       Page 2 of 5




proffered award. Id. at 2. Based on the record as a whole, I find that Petitioner is entitled
to an award as stated in the Proffer.

        Pursuant to the terms stated in the attached proffer, Petitioner is awarded a lump
sum of $46,587.63 (representing $45,000.00 for pain and suffering, and $1,587.63),
to be paid through an ACH deposit to Petitioner’s counsel’s IOLTA account for
prompt disbursement to Petitioner. Proffer at 2. This amount represents compensation
for all damages that would be available under Section 15(a). Id.

        The Clerk of Court is directed to enter judgment in accordance with this decision.2

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




2 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
         Case 1:23-vv-01719-UNJ         Document 33        Filed 04/01/25      Page 3 of 5




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


    DAVID MOLTER,

                 Petitioner,

    v.                                                 No. 23-1719V
                                                       Chief Special Master Corcoran
    SECRETARY OF HEALTH AND                            ECF
    HUMAN SERVICES,

                 Respondent.



              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On October 3, 2023, David Molter (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that he suffered a Shoulder Injury Related to Vaccine Administration

(“SIRVA”), as defined in the Vaccine Injury Table, following administration of a influenza

(“flu”) vaccine he received on January 12, 2022. Petition at 1. On October 7, 2024, the Court

issued a Ruling on Entitlement, “find[ing] that the at-issue vaccine was most likely administered

in Petitioner’s right arm, as alleged, and he is otherwise entitled to compensation for a Table

SIRVA.” 1 ECF No. 21, at 1.




1
  Respondent has no objection to the amount of the proffered award of damages set forth
herein. Assuming the Chief Special Master issues a damages decision in conformity with this
proffer, respondent waives his right to seek review of such damages decision. However,
respondent reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Chief
Special Master’s October 7, 2024, entitlement decision.
           Case 1:23-vv-01719-UNJ          Document 33        Filed 04/01/25     Page 4 of 5




    I.        Items of Compensation

           A. Pain and Suffering

           Respondent proffers that petitioner should be awarded $45,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

           B. Past Unreimbursable Expenses

           Evidence supplied by petitioner documents that he incurred past unreimbursable expenses

related to his vaccine-related injury. Respondent proffers that petitioner should be awarded past

unreimbursable expenses in the amount of $1,587.63. See 42 U.S.C. § 300aa-15(a)(1)(B).

Petitioner agrees.

           These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

    II.       Form of the Award

           Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 2: a lump sum payment of $46,587.63, to be paid

through an ACH deposit to petitioner’s counsel’s IOLTA account for prompt disbursement to

petitioner.

    III.      Summary of Recommended Payments Following Judgment

           Lump sum to be paid through an ACH deposit to petitioner’s counsel’s IOLTA account

for prompt disbursement to petitioner, David Molter:            $46,587.63.


2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future,
unreimbursed expenses, future lost earnings and future pain and suffering.
                                                    2
      Case 1:23-vv-01719-UNJ   Document 33    Filed 04/01/25       Page 5 of 5




                                         Respectfully submitted,

                                         YAAKOV M. ROTH
                                         Acting Assistant Attorney General

                                         C. SALVATORE D’ALESSIO
                                         Director
                                         Torts Branch, Civil Division

                                         HEATHER L. PEARLMAN
                                         Deputy Director
                                         Torts Branch, Civil Division

                                         GABRIELLE M. FIELDING
                                         Assistant Director
                                         Torts Branch, Civil Division

                                         /s/ Emilie F. Williams
                                         EMILIE F. WILLIAMS
                                         Trial Attorney
                                         Torts Branch, Civil Division
                                         U.S. Department of Justice
                                         P.O. Box 146
                                         Benjamin Franklin Station
                                         Washington, D.C. 20044-0146
                                         (202) 305-1124
                                         Emilie.williams@usdoj.gov


DATED: February 27, 2025




                                     3
